Case 8:11-cv-02391-VMC-MAP Document 17 Filed 04/05/12 Page 1 of 1 PageID 62




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISON

   JOSEPH RAETANO,

          Plaintiff,

   vs.                                              CASE NO.: 8:11-cv-02391-VMC-MAP

   GULF-FLA DOUGHNUTS HILLSBOROUGH
   INC.,

           Defendant.
                                              /

                    STIPULATION OF DISMISSAL WITH PREJUDICE

           Pursuant to Rule 41(a), Fed. R. Civ. P., the parties in the above-styled action
   stipulate to dismissal of claims which were brought or could have been brought in this
   action in their entirety with prejudice with each party to bear his or its own costs and
   attorney's fees in this action.

           Respectfully submitted this _ day of April, 2012.


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